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                         IN THE IINI'I'ED STATES DISTRICT COURT
                         FOR THE NORTTIERN DISTRICT OF TEXAS
                                       AMARII-LO DIVISION

 UNITED S]'A-fES OF AMERICA

                                                               NO. 2:24-CR-045-Z
COLE PAl'RICK TiNDERWOOD

                                        FACTUAL RESUME

        In support of Cole Patrick Underuood's plea of guilty to the otTense in Count One

of the Indictment, [Jnderu'ood. the det-endant. Bethanl Stephens, the def'endant's

attomey. and the United States olAmerica (the govemrnent) stipulate and agree to the

lbllos ing:

                                ELENIENTS OF THE OFFENSE

        To prove the offbnse alleged in Count One of the Indictment. charging a violation

of l8 U.S.C. g 2422(b), that is. Enticement and Attempted L,nticernent of a Minor, the

govemment must prove each of the follou'ing elements be1'ond a reasonable doubt:l

        First.           That the det'endant kno*'inglv persuaded. induced. enticed. or
                         coerced, or attempted to do so. an individual to engage in any sexual
                         activity. as charged in the indictrnent:

        Second:          That the dcf-endant used the lntemet. a cell phone. or any taciliry' or
                         means of interstate or tbreign commerce to do sol

        Third:           That the defendant believed that such individual was less than l8
                         years ofage: and

        Fou'llt          That. had the sexual activig' actualll' occurred. the del'endant could
                         be charged rvith the cdmihat oflt'ense of Section 2l . I I (lndecenct'
                         u,ith a Child) under the larvs olTexas.
I Fifth Circuit Panern JUn lnstnrctiol l.9i (5rh [ir. ]lJl9)


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It is not necessary fbr the governmeut to prove the individual rvas in lact less than l8
years ofage; but it is necessary tbr the government to prove the delendant believed such
individual to be under that age. It is not necessary fbr the govemment to prove that thc
individual rvas actually persuaded. induced. enticed. coerced. into engaging in the
described sexual activity. as long as it proves the det'endant intended to persuade. induce.
entice. or coerce the individual to engage in some fonr of unlarvtul sexual activiqv rvith
thc det'endant and knou ingll took some action that uas a substantial step to*'ard
bringing it about. A substantial step is conduct that strongly' conoborates the firmness ol
the defendant's criminal attempt. Mere preparation is not enough.

       As a matter of la*. the follorving is a crime under Texas las :

       First.            l'he defendant is l7 l ears oiage or older:

       Second. l'he del'endant knorvingll' or intentionall)': (l) engaged in sexual
       contact * ith a child I oungcr than I 7; (2) u ith the intent to arouse or grati$ the
       sexual desire ofany person. exposed the person's anus or any part olthe person's
       genitals, knorving that a child younger than l7 was present: or (3) caused a child
       younger than I 7 to expose the child's anus or any part of the child's genitals.

                         .l'his
       Tltird.                    happened in l cxas.

                                        STIPULATED FACTS

       l.      Cole Patrick Undenvood admits and agrees that liorn on or about

November 1.2023. to on or about June 4. 2024. in the Amarillo Division of the Northern

District of Texas. and elservhere. he, the defendant. did knowingly use a facility or means

of interstate or lbreign commerce, includine a cellular telephone. to persuade. induce,

entice, or coerce. or attempt to do so, an individual who had not attained the age of

eighteen years. to engage in sexual activityfor rvhich he could be charged rvith a criminal

offense. in violation of Title 18, United Stat6s Code. Section 2422(b).




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         2.     At all times material to this factual resume. Cole Patrick Underwood rvas

 28 or 29 years old and employed as the head tbotball coach and athletic director for

 Perr-r'ton Independent School District (Penlton ISD). At all times material to this lhctual

 resume. "Jane Doe" was l5 years old and a student at Perryton High School (Perryton

 HS). Underu,ood knew Doe as a student and athlete rvith Perryton ISD. Undenvood and

 Doe are not. and were never, married to each other. Perryton is in Ochiltree County,

 Texas, which is in the Amarillo Division ofthe Northem District of Texas.

        3.      Undenvood first met Doe rvhen she rvas in middle school in Perryton. In

 2023, Doe began her freshman year at Perryton HS. Around November 2023,

 Underwood started communicating rvith Doe about more personal matters. inquiring

 about Doe's personal and family life. Underwood also began meeting with Doe alone in

 his oflice. Undenvood and Doe also began communicating on Snapchat. Around

 Christmas of 2023. Undenvood's messages to Doe became more sexually oriented and

 flirtatious. Ultimately, Underw,ood began a sexual relationship with Doe. facilitated by

 his use ofcell phones. the Internet. and social media applications like Snapchat. TikTok.

 and Signal.

        4.      In early 2024, rumors circulated that Undenvood u'as having an

 inappropriate relationship rvith Doe. Penlton ISD administrators gave Underwood a

 specific directive not to be alone with Doe. After that directive was given, Underwood

 and Doe were captured by school surveillance cameras meeting alone together on

 multiple occasions outside of school hours. In April 2024, Underwood was placed on



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administrative leave due to the inappropriate relationship and the Ochiltree County

SherifPs Office (OCSO) was contacted.

        5.     On April 23 and April 24.2024. the Chief Deput-v of OCSO intervierved

Doe. Doe said Underwood had sexual intercourse with her l3 to 14 times in

Underwood's office. Doe said the first time Undenvood had sexual intercourse with her

was in February 2021. Doe also said she sent t'ully nude photographs of herself to

Undenvood on Snapchat because Undenvood hinted at rvanting them.

       6.      On April 23.2024, the Chief Deputy inten'ierved Underwood. Underu'ood

first denied a relationship with Doe. Eventually, Underwood admitted he had sexual

intercourse with Doe in his office more than l0 times. Undenvood also said he

communicated with Doe on Snapchat. Underu,ood detailed how he and Doe would meet

at the school after hours and on rveekends. Underw'ood said he lvould leave the school

door propped open so Doe could enter and go to his office.

       7.      Perryton ISD used an application called ParentSquare for teachers,

students. and parents to communicate with each other. The investigation revealed that on

multiple occasions, Undenvood and Doe communicated directly on ParentSquare to

create a frctitious record of valid reasons for their after-hours meetings. On April 12.

2024. Doe messaged Undenvood saying. -'can you please prop the door open around 2:45

so i can get into the training room." Undenvood replied: "Sure." At that date and time,

Doe was recorded on surveillance video entering through the propped door and

proceeding to Underwood's o1'1lce.




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       8.      Undenvood rvas arrested on April 25.2024- by OCSO for sexual assault of

a child. Underu'ood rvas rcleased on bond after his arrest and gi'r'en conditions by the

Court to have no communication u'ith Doe or her lamilv members.

       9.      On Ma1' 7,2024. a special asent rvith the Federal Bureau of Investigation

(FBI) spoke rvith the OCSO Chief Deputl about the investigation. On Ma1' 10. 2024. the

FBI agent received Doe's cell phone. A search of the phone revealed multiple late-night

conversations betrveen Undenvood and Doe. including a 6-hour-and- 10-minute phone

call at I l:28 p.m. on December 25.2023. The phone also revealed liequent contact

betrveen Underwood and Doe on Snapchat. ln some messages on Snapchat. Underuood

refened to Doe as "u'it'er'" and told Doe that he loved her. Ljnderu ood also sent Doe

sexualll' oriented and tlirtatious messa-qes that uere located on Doe's cell phone.

       10. On Ma1 3l. 2024. Iarv enlorccment met \\ ith Doe again. Doe explained
hou' the relationship * ith Undenr,ood developed. Underuood used Snapchat to establish

a personal relationship rvith Doe and invited her to his ofl-rce tbr personal conversations


where she confided in him. Around Christmas 2023. Undenvood's messages to Doe

became more sexual and tlirtatious. Undenlood used Snapchat to arrange sexual

encounters with Doe and he used Snapchat to provide her detailed instructions on how to

meet in his office after school hours to avoid detection. Using Snapchat and their cell

phones to coordinate the meetings. Doe met Undenvood on multiple occasions in his

office, where he engaged in sexual activity with her. The sexual activig, Undenvood

engaged in rvith Doe u,ould be. and rvas. a criminal ol'lense in violation of the laws of

Texas. specifically Texas Penal Code Section 2l.I I (lndecency rvith a Child) rvhich

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 makes it a crime to intentionally or knorvingll cngage in sexual contact rvith a child

 younger than I 7: or rvith the intent to arouse or gratit, the sexual desire of any person.

 expose the person's anus or anv part of the person's genitals. knowing that a child

 younger than I 7 is present: or cause a child l ounger than I 7 to expose the child's anus or

 an)' part of the child's genitals.

         11. On June 4.2024. Llndenvood rvas arrested on a federal complaint. After
 his arrest. Undenvood rvas inten'ierved b1 an FBI agent. Undenvood again admitted to

 the sexual relationship rvith Doe. Undenvood further admitted he used Snapchat to

 rurange meetings $ith Doe to engage in sexual activit\'. Undenvood also admined that

 he received nude photographs ofDoe via Snapchat. Undenvood gave the FBI agent

 consent to search his cell phone. A preliminary search of thecell phone revealed that

 Undern'ood rvas in continuous cornrnunication rvith Doe even aftcr his initial arrest by

 OCSO and release on bond. Messages on Undenr,ood's phone revealed that he provided

 Doe a secret cell phone tbr him to communicate uith her

         12. Based on Underw-ood's admissions. la* entbrcement rvas able to obtain the
 secret cell phone tiom Doe. To further conceal their communications. Undenvood

 communicated u'ith Doe on'fikTok and Signal. an end-to-cnd encrypted rnessaging

 platlorm.

         13. Underuood and Doe communicated using Apple iPhones, the Internet. and
 the social media applications Snapchat. TikTok. and Signal. Through those

 communications, Undenvood persuaded. induced. enticed. or coerced. or attempted to

 persuade, induce, entice, or coerce. Doe to'engage in sexual activiry- rvith him. Apple

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iPhones are not manuf'actured in the State olTexas. theretbre. prior to their use by

Underu,ood and Doe in Perryton. Texas. thel' had traveled in intcrstate or lbreign

commerce. Furthermore, the Intemet. including Intemet-based social media applications

such as Snapchat. Tikl'ok. and Signal. are all facilities or means of interstate or foreign

commerce. At the time Underw-ood enticed. or attempted to entice. Doe into a sexual

relationship, he knon ingll' used a faciliq, or means of interstate or lbreign commerce.

Furthermore, Undenvood kneu that Doe u'as under the age of I 8 years at the time he

committed this offense. and admits and agrees that the sexual activity he enticed, or

attempted to entice. Doe to engage in could have rcsulted in him being char-eed with a

criminal offense. speciticalll'a violation ofTexas Penal Code Section 2l.l I (lndecencv

uith a Child). uhich makcs it a crirne to intentionalll or knou'inglv engage in sexual

contact rvith a child y ounger than l7: or *ith the intent to arouse or gratify the sexual

desire ofany person. expose the person's anus or an)'part ofthe person's genitals,

knorving that a child ]'ounger than I 7 is present: or cause a child 1'ounger than I 7 to

expose the child's anus or an) part olthe child's genitals.

        14. The defendant agrees that the defendant committed all the essential
elements of the oflt'ense. This factual resume is not intended to be a complete accounting

of all the facts and events related to the offense charged in this case. The limited purpose

of this statement of fhcts is to demonstrate that a factual basis exists to support the

defendant's guilq'plea to Count One of the lndictment.




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AGREED TO AND STIPULATED on this        pdal ol                         .2021.

                                   LEIGHA SIMONTON
                                   UNITED STATES ATTORNEY



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